“AO 82
(Rev, 3/78)

Case: 3:15-cr-68@iMawmc
RECEIPT FOR PAYMENT
UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WISCONSIN

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DEPOSIT FUND
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Restitution
REGISTRY FUND
Cash Bail
Land Condemnation
GENERAL AND SPECIAL FUND
immigration Fees
Attorney Admission Fee
Filing Fees
Civil Cases
‘Writ of Habeas Corpus
Appeais
Bankruptcy Cases (Clark’s Fee)
Sale of Publications
Copy Fees
Miscellaneous Fees
Recoveries of Costs
Bankruptcy Fiting Fees and Specia! Charges
FINES, PENALTIES AND FORFEITURES
Agricuttural Laws
Economic and Stabilization Laws
Immigration and Labor Laws
Customs, Commerce and Anti-Trust Laws
Narcotics, Prohibition and Alcoho! Laws
Forfeitures of Unclaimed Money and Property
Mining Enforcement and Safety Administration
Internal Revenue Service {Criminal Fines)
Collateral Forfeitures (CVB}
Appearance Bond Forfeitures and
Other Fines, Penalties or Forfeitures
Not Otherwise Classified

 

Cash |Check

 

 

 

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